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 6
                               UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                             NO. CR11-116-RSL

10                                   Plaintiff,

11          v.                                             DETENTION ORDER
12   SHARLA RAE KLEMETSEN,
13
                                     Defendant.
14

15   Offenses charged:
16          Count 2:         Felon in Possession of a Firearm, in violation of 18 U.S.C. § 922(g)(1)
17
            Counts 6-10: Wire Fraud, in violation of 18 U.S.C. §§ 1343 and 2
18
            Count 12:        Aggravated Identity Theft, in violation of 18 U.S.C. § 1028A(a)(1)
19
     Date of Detention Hearing: April 11, 2011
20
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
21
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
22
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
23
            1.        Defendant has stipulated to detention due to being currently incarcerated in
24
     Pierce County, but reserves the right to contest her continued detention if there is a change in
25
     circumstances.
26


     DETENTION ORDER
     18 U.S.C. § 3142(i)
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            2.      There are no conditions or combination of conditions other than detention that
 2
     will reasonably assure the appearance of defendant as required or ensure the safety of the
 3
     community.
 4
            IT IS THEREFORE ORDERED:
 5
            (1)     Defendant shall be detained and shall be committed to the custody of the
 6
                    Attorney General for confinement in a correction facility separate, to the extent
 7
                    practicable, from persons awaiting or serving sentences or being held in custody
 8
                    pending appeal;
 9
            (2)     Defendant shall be afforded reasonable opportunity for private consultation with
10
                    counsel;
11
            (3)     On order of a court of the United States or on request of an attorney for the
12
                    government, the person in charge of the corrections facility in which defendant
13
                    is confined shall deliver the defendant to a United States Marshal for the
14
                    purpose of an appearance in connection with a court proceeding; and
15
            (4)     The Clerk shall direct copies of this Order to counsel for the United States, to
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                    counsel for the defendant, to the United States Marshal, and to the United States
17
                    Pretrial Services Officer.
18
            DATED this 11th day of April, 2011.


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                                                   JAMES P. DONOHUE
21                                                 United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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